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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Cr. No. 21-mj-33
                                              :
PETER J. HARDING,                             :
                                              :
                       Defendant.             :

            JOINT MOTION TO CONTINUE ASCERTAINMENT OF COUNSEL
                            AND STATUS HEARING

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully files this joint motion to continue the ascertainment of counsel and status

hearing scheduled for March 4, 2021 to March 31, 2021. In support of this motion, the government

and Defendant Peter Harding state as follows:

       1.      On January 11, 2021, the Court issued an Arrest Warrant based on a Criminal

Complaint and its supporting Statement of Facts charging Mr. Harding with 18 U.S.C. § 1752(a)(1)

and (2) (Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority) and 40 U.S.C. § 5104(e)(2)(C) (Violent Entry and Disorderly Conduct on Capitol

Grounds).

       2.      On January 13, 2021, the defendant was arrested pursuant to the Arrest Warrant

and had an initial appearance in the U.S. District Court for the Western District of New York on

January 14, 2021.

       3.      On January 19, 2021, the defendant had an initial appearance in the U.S. District

Court for the District of Columbia.
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       4.      On February 2, 2021, the parties appeared for an ascertainment of counsel and

status hearing. At that hearing, a further ascertainment of counsel and status hearing was set for

March 4, 2021.

       5.      Defense counsel has represented that additional time is necessary for Mr. Harding’s

retained counsel to be admitted to this jurisdiction pro hac vice.

       6.      The parties therefore jointly request that the March 4, 2021 hearing be continued to

March 31, 2021 to allow Mr. Harding’s retained counsel additional time to seek to be admitted to

this jurisdiction pro hac vice.

       7.      Counsel for the defendant has authorized the government to represent that the

defendant does not oppose the exclusion of time until the next hearing for purposes of the Speedy

Trial Act because the ends of justice served by a continuance based on the facts stated above

outweigh the interest of the public and the defendant in a speedy trial.


                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              ACTING UNITED STATES ATTORNEY
                                              D.C. Bar No. 415793

                                              By:     /s/ Stuart Allen
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Dated: March 4, 2021




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